     Case 1:23-cv-09878-JAV                  Document 175-1                Filed 07/17/25           Page 1 of 2


From:              Shawn Holley
To:                Daniel Crispino
Cc:                BOBBI C STERNHEIM; Gregory P. Korn; Kenya K. Davis; Sigrid McCawley; Amber Stewart; Max J. Hyams; Emily
                   Hiles
Subject:           Re: Dixon v. Reid - Financial Discovery
Date:              Thursday, April 10, 2025 6:46:42 PM



CAUTION: External email. Please do not respond to or click on links/attachments unless you recognize
the sender.




We are authorized to accept service for Richard Johnson, AMR, and Gamma. Still waiting to
hear from Larry Jackson.

Pardon the delay.


Shawn Holley, Esq. (she/her)
Kinsella Holley Iser Kump Steinsapir LLP
11766 Wilshire Boulevard, Suite 750
Los Angeles, California 90025
310.566.9822/direct
310.566.9850/facsimile

Sent from my iPad

        On Apr 7, 2025, at 9:23 AM, Daniel Crispino <dcrispino@bsfllp.com> wrote:


        ﻿
        **CAUTION: This email originated from outside of the organization.**

        Re-raising our request from last week – do you accept service of Plaintiff’s subpoenas
        to AMR Ventures, Gamma, Larry Jackson, or Richard Johnson?

        Daniel Crispino
        Counsel

        BOIES SCHILLER FLEXNER LLP
        401 E. Las Olas Blvd., Suite 1200
        Fort Lauderdale, FL 33301
        (m) +1 954 496 0291
        dcrispino@bsfllp.com
        www.bsfllp.com




        From: Daniel Crispino
        Sent: Tuesday, April 1, 2025 10:04 PM
Case 1:23-cv-09878-JAV                           Document 175-1                      Filed 07/17/25                  Page 2 of 2


 To: BOBBI C STERNHEIM <bcsternheim@mac.com>; Gregory P. Korn
 <GKorn@khiks.com>; Shawn Holley <SHolley@khiks.com>
 Cc: Kenya K. Davis <kdavis@BSFLLP.COM>; Sigrid McCawley
 <Smccawley@BSFLLP.com>; Amber Stewart <astewart@BSFLLP.COM>; Max J. Hyams
 <Mhyams@bsfllp.com>; Emily Hiles <EHiles@BSFLLP.COM>
 Subject: Dixon v. Reid - Financial Discovery


 Counsel,

 Please see attached Plaintiff’s financial discovery requests on Defendant and relevant
 third-parties. Please let us know whether you will accept service of the subpoenas to
 AMR Ventures, Gamma, Larry Jackson, and Richard Johnson. For Mr. Jackson’s and Mr.
 Johnson’s depositions, we can amend the dates/times as needed based on the
 witnesses’ and your team’s availability.

 Best,
 Danny

 Daniel Crispino
 Counsel

 BOIES SCHILLER FLEXNER LLP
 401 E. Las Olas Blvd., Suite 1200
 Fort Lauderdale, FL 33301
 (m) +1 954 496 0291
 dcrispino@bsfllp.com
 www.bsfllp.com




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